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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

PHEMY MIMIKO,                           §
TDCJ No. 2239161,                       §
                                        §
            Plaintiff,                  §
                                        §
V.                                      §         No. 3:20-cv-2012-E
                                        §
CORPORAL HORN, ET AL.,                  §
                                        §
            Defendants.                 §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The District Court reviewed

the proposed findings, conclusions, and recommendation for plain error. Finding

none, the Court ACCEPTS the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge.



       SO ORDERED this 9th day of November, 2020.




                                            ADA BROWN
                                            UNITED STATES DISTRICT JUDGE
